




NO. 07-04-0555-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JUNE 17, 2005



______________________________





CHRISTOPHER ROBIN SCOTT, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B14418-0204; HONORABLE ED SELF, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Pending before this Court is appellant Christopher Robin Scott’s motion to dismiss his appeal by which he represents he wishes to withdraw his notice of appeal. &nbsp;The motion is personally signed by appellant as required by Rule 42.2(a) of the Texas Rules of Appellate Procedure. &nbsp;No decision of this Court having been delivered to date, the motion is granted. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith. 

Accordingly, the appeal is dismissed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish.

 


